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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,                           )   Case No.: 1:19-cv-00389-LEK-KJM
                                                  )   (Copyright)
                       Plaintiff,                 )
      vs.                                         )   DECLARATION OF COUNSEL
                                                  )
  JOHN DOE, et al.                                )
                                                  )
                       Defendants.                )
                                                  )

                             DECLARATION OF COUNSEL

          KERRY S. CULPEPPER hereby declares under penalty of laws of the United

 States that the following is true and correct.

          1.      I am an attorney and represent the Plaintiff, I have personal knowledge

 of the matters stated herein, and this declaration is given in support of Plaintiff’s

 Motion for Leave to File the First Amended Complaint (“FAC”) filed herewith.

          2.      I have attached the redlined marked up copy of the proposed FAC to

 this Motion as Exhibit 1 and the clean version of the proposed FAC as Exhibit “2”

 (exhibits and declarations excluded).

          I declare under the penalty of perjury that the foregoing is true and correct.




          DATED: Kailua-Kona, Hawaii, November 21, 2019.



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                              CULPEPPER IP, LLLC

                              /s/ Kerry S. Culpepper
                              Kerry S. Culpepper

                              Attorney for Plaintiff




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